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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                  IN THE UNITED STATES DISTRICT COURT                   April 07, 2020
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION                         David J. Bradley, Clerk




WEATHERFORD INTERNATIONAL, LLC;         §
WEATHERFORD U.S. L.P.; and              §
WEATHERFORD ARTIFICIAL LIFT             §
SYSTEMS LLC,                            §
                                        §
                  Plaintiffs,           §
                                        §
V.                                      §        CIVIL ACTION NO. H-19-4258
                                        §
ERIC BINSTOCK; SITEWORKS                §
UNLIMITED, INC.; POWDER RIVER           §
HYDRAULICS, LLC; and ELITE LIFT         §
SOLUTIONS LLC,                          §
                                        §
                  Defendants.           §

                       MEMORANDUM OPINION AND ORDER


        Plaintiffs, Weatherford International LLC, Weatherford U.S.
L.P., and Weatherford Artificial Lift Systems LLC ("Weatherford

Artificial Lift")       (collectively "Weatherford"),         assert claims
against Eric Binstock, Siteworks Unlimited, Inc. ("Siteworks"),
Powder River Hydraulics,        LLC   ("Powder River"),     and Elite Lift
Solutions LLC ("Elite Lift") (collectively "Defendants") for breach
of contract,     tortious interference with a contract,            misappro­
priation of trade secrets, and breach of fiduciary duty.               Pending
before the court is Defendants'             Motion to Dismiss    ("Motion to
Dismiss") (Docket Entry No. 13).            For the reasons stated below,
Defendants' Motion to Dismiss will be granted in part and denied in
part.
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                    I.    Factual and Procedural Background

     Weatherford is an oilfield services company that provides
artificial lift products and services in Colorado, Wyoming, and
North Dakota. 1 The artificial lift business includes pile systems,
hydraulic lift systems, sucker rods, rod pumps, and progressive
cavity pump systems for use in oil wells. 2                             Siteworks is a
North Dakota corporation that supplied Weatherford with concrete
bases     for   its      artificial    lift        business. 3     As    part   of   that
relationship, Weatherford provided Siteworks with what it contends
are trade secrets subject to a Supplier Confidentiality Agreement
("NDA") signed in 2016. 4
     Weatherford          alleges     that    Siteworks      and   its     owner,    Eric
Binstock, conspired with several former employees of Weatherford to
use trade secrets subject to the NDA to enter the artificial lift
business and compete with Weatherford. 5                    To do so, they created
defendants Powder River and Elite Lift - North Dakota limited
liability companies owned by Binstock. 6                  Weatherford alleges that


     1
      Plaintiffs' Original Complaint ("Complaint") , Docket Entry
No. 1, p. 2 1 2. All page numbers for docket entries in the record
refer to the pagination inserted at the top of the page by the
court's electronic filing system, CM/ECF.


     3
         Id. at 7    11 25-26.
     4
      Id. at 7-8 11 27-28; NDA, Exhibit 1 to Complaint, Docket
Entry No. 1-1, p. 5.
     5
         Id. at 10    1 33.
     6
         Id. at 3-4      11 11-12, 11 1 35.
                                             -2-
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Powder River and Elite Lift could not have so quickly been

established and begun competing in the artificial lift business
without illicit use of Weatherford's confidential information. 7
Several Weatherford employees resigned and joined Defendants.
Weatherford alleges that these employees conspired to ensure that
Weatherford was vulnerable to competition before leaving to join
Powder River and Elite Lift and to take Weatherford's customers. 8
      On October 29, 2019, Weatherford filed this action against
Defendants alleging breach of contract, tortious interference with
a contract,       misappropriation of trade secrets,        and breach of
fiduciary duty and seeking damages and an injunction against them. 9
On January 6, 2020, Defendants filed their Motion to Dismiss the
action for lack of personal jurisdiction,            improper venue,        and

failure to state a claim. 10     Weatherford responded on February 3,
2020. 11    Defendants replied on February 17, 2020, 12 and Weatherford
filed a sur-reply on February 26, 2020. 13


      7
          Id. at 12   1 39.
      8
          Id. at 10   1 34.

      10
           Motion to Dismiss, Docket Entry No. 13, p. 11.
     11Plaintiffs' Response to Defendants' Motion               to   Dismiss
("Plaintiffs' Response"), Docket Entry No. 16.
      Defendants' Reply in Support of
      12
                                                     Motion    to    Dismiss
("Defendants' Reply"), Docket Entry No. 20.
     13 Sur-Reply in Opposition to Defendants' Motion to Dismiss
("Plaintiffs' Sur-Reply"), Docket Entry No 23.
                                    -3-
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                    II.     Personal Jurisdiction and Venue

       Defendants       have     moved   to   dismiss     for   lack   of   personal
jurisdiction and improper venue. 14                Weatherford contends that the
court may exercise              personal jurisdiction over all Defendants
pursuant to a forum selection clause in the NDA that specifies
Houston, Texas, as the venue and forum for any disputes related to
or arising from the contract. 15            Defendants contend that the forum­
selection       clause     is    unenforceable        because   it   terminated    on
September 16, 2019, and that it does not bind the non-signatory
defendants:       Binstock, Powder River, and Elite Lift. 16           Weatherford
also argues that each defendant has sufficient contacts with Texas

to permit exercise of personal jurisdiction even if the forum­
selection clause does not apply.                  Defendants also request, in the
alternative to dismissal, trans£ er of venue to the District of
North Dakota. 17

A.     Standard of Review

       The      court     may    exercise     personal     jurisdiction     over   a
nonresident defendant if "(1) the forum state's long-arm statute

       14
            Motion to Dismiss, Docket Entry No. 13, pp. 17-18.
      Plaintiffs' Response, Docket Entry No. 16, p. 13; see NDA,
       15

Exhibit 1 to Complaint, Docket Entry No. 1-1, p. 4 1 ll(a) ("Each
party agrees that any action or proceeding arising out of or
related in any way to this Agreement shall be brought solely in a
court of competent jurisdiction sitting in Harris County, Texas,
and each irrevocably and unconditionally consents to [its]
jurisdiction       .").
       16
            Motion to Dismiss, Docket Entry No. 13, pp. 28, 26, 19.
       17
            Motion to Dismiss, Docket Entry No. 13, pp. 29, 32, 37.
                                            -4-
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confers personal jurisdiction over that defendant; and (2) the

exercise of personal jurisdiction comports with the Due Process
Clause of the Fourteenth Amendment."        McFadin v. Gerber, 587 F.3d
753, 759 (5th Cir. 2009), cert. denied,            131 S. Ct. 68 (2010).

Since the Texas long-arm statute extends as far as constitutional
due process allows, the court considers only the second step of the

inquiry.     Id.
        Federal due process permits personal jurisdiction over a
nonresident defendant that has "minimum contacts" with the forum
state, subject to the limit of not offending "traditional notions
of 'fair play and substantial justice."'           Id.   The extent of the
contacts determines whether the court's jurisdiction is specific or
general.     Lewis v. Fresne, 252 F.3d 352, 358 (5th Cir. 2001)              A

court has general jurisdiction over a nonresident defendant "'to
hear any and all claims'" if that defendant's contacts with the
state are so continuous        and    systematic    "as to render      [that
defendant]    essentially at home in the forum."            Daimler AG v.
Bauman, 134 S. Ct. 746, 751 (2014) (quoting Goodyear Dunlop Tires
Operations. S.A. v. Brown, 131 S. Ct. 2846, 2851 (2011))                   "The
'continuous and systematic contacts test is a difficult one to
meet,    requiring extensive contacts between a defendant and a
forum.'"     Johnston v. Multidata Systems International Corp., 523
F.3d 602, 609 (5th Cir. 2008) (quoting Submersible Systems. Inc. v.
Perforadora Central, S.A. de C.V., 249 F.3d 413, 419 (5th Cir.
2001)).

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       "In contrast to general, all-purpose jurisdiction, specific

jurisdiction is confined to adjudication of 'issues deriving from,
or    connected    with,    the    very     controversy   that     establishes
jurisdiction."' Goodyear, 131 S. Ct. at 2851 (citations omitted).
A court asks "whether there was 'some act by which the defendant
purposefully avail[ed]        itself of the privilege of conducting
activities within the forum State, thus invoking the benefits and
protections of its laws.'"        Id. at 2854 (quoting Hanson v. Denckla,
78 S. Ct. 1228, 1239 (1958)).         Specific jurisdiction exists "when
a nonresident defendant 'has purposefully directed its activities
at the forum state and the litigation results from alleged injuries
that arise out of or relate to those activities.'"               Walk Haydel &
Associates, Inc. v. Coastal Power Production Co., 517 F.3d 235, 243
(5th Cir. 2008) (quoting Panda Brandywine Corp. v. Potomac Electric
Power Co., 253 F.3d 865 (5th Cir. 2001)). Although the defendant's
contacts with the forum must be "more than 'random, fortuitous, or
attenuated, or .           the unilateral activity of another party or
third person,'" even "isolated or sporadic contacts" can support
specific jurisdiction "so long as the plaintiff's claim relates to
or arises out of those contacts."              ITL International, Inc. v.
Constenla, S.A., 669 F.3d 493, 498-99 (5th Cir. 2012) (quotation
omitted).
      Under Rule 12(b)(2), "[w]hen the district court rules on a
motion to dismiss for lack of personal jurisdiction 'without an
evidentiary     hearing,    the   plaintiff     may   bear   his   burden    by

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presenting a prima facie case that personal                        jurisdiction is

proper.'"     Quick Technologies, Inc. v. Sage Group PLC, 313 F.3d
338, 343-344 (5th Cir. 2002) (quoting Wilson v. Belin, 20 F.3d 644,
648 (5th Cir. 1994)).        "Proof by a preponderance of the evidence is
not required."         Johnston, 523 F.3d at 609                 (citing Bullion v.

Gillespie, 895 F.2d 213, 217 (5th Cir. 1990)). In deciding whether
personal jurisdiction exists, "[t] he district court may receive
'any- combination of the recognized methods of discovery,' including
affidavits, interrogatories, and depositions to assist in the
jurisdictional analysis."            Little v. SKF Sverige AB, Civil Action
No. H-13-1760, 2014 WL 710941, at *2 (S.D. Tex. Feb. 24, 2014)
(quoting     Walk   Haydel, 517        F.3d       at   241).      "[U]ncontroverted
allegations in the plaintiff's complaint must be taken as true, and
conflicts between the facts contained in the parties' affidavits
must    be   resolved   in     the    plaintiff's        favor    for   purposes    of
determining whether a prima facie case for personal jurisdiction
exists."     Johnston, 523 F.3d at 609 (citation omitted).                   But the
district court is not required "to credit conclusory allegations,
even if uncontroverted."         Panda Brandywine, 253 F.3d at 869.

B.     Analysis

       1. Validity of the Forum-Selection Clause
       The   NDA    contains     a    termination        clause     that   sets    the
termination of the agreement "on the third anniversary of the
Effective     Date,"    except       for    the    "obligations      set   forth   in

                                           -7-
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Section            2,   and           all   provisions    hereof     necessary         for   the

interpretation and enforcement" thereof. 18                      Section 2 provides that

Siteworks' contractual duties regarding Weatherford's confidential
information             continue            for   five   years     after   the     agreement
terminates.19           The effective date of the agreement is September 19,

2016,        and this action was instituted on                       October     29,     2019.20

Defendants argue the forum selection clause terminated with the

agreement. 21

        Dispute resolution provisions such as forum-selection clauses
typically apply to post-contractual disputes unless the plain
language of the contract indicates the parties intended those
provisions to expire.                        Strata Heights International Corp. v.
Petroleo Brasileiro, S.A., 67 F. App'x 247, 2003 WL 21145663, at *7
(5th Cir. 2003) ("When a clause purports to cover all disputes
relating to the contract, that clause covers all disputes relating
to the contract regardless of when th[e] dispute arises.").                                  The
plain language may indicate that the forum-selection clause does
not survive if the contract contains a survival clause that
specifies clauses that survive termination, and the forum-selection
clause is not among those listed.                          See TSI USA,        LLC v. Uber

        18
             NDA, Exhibit 1 to Complaint, Docket Entry No. 1-1, p. 4 110.
        19
             Id.   at   2   fl
                            11   2•
        20
             Id. at 1 1 1; Complaint, Docket Entry No. 1.
        21
             Motion to Dismiss, Docket Entry No. 13, p. 28.
                                                   -8-
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Technologies. Inc., 2017 WL 106835, at *5 (N.D. Tex. Jan. 11, 2017)

(applying California law and the maxim of "expressio unius" to hold
a forum-selection clause not specified by the contract's survival

clause had expired).          Defendants argue that this rule applies to
the NDA because the NDA's survival clause does not expressly

identify the forum-selection clause.22
        The court is not persuaded by this argument.                The NDA's term
provision states that the "obligations set forth in Section 2, and
all     provisions       hereof   necessary    for   the       interpretation   and
enforcement of such obligations, shall survive." 23                 The provision
that         "all   provisions"   "necessary   for   the       interpretation   and
enforcement" of the obligations in Section                 2   also survive means
that the survival clause is not meant as an exclusive list of the
terms that survive termination. The court therefore cannot assume
the parties intended the forum-selection clause to expire based on
the survival clause and the maxim that to express one thing is to
exclude others.          See Strata Heights, 2003 WL 21145663, at *6-7.
Absent express intent that the parties intended the forum-selection
clause to expire, the court will apply the general rule that a
forum-selection clause remains enforceable as to disputes involving
a contract that has otherwise expired. See id. at *7; Texas Source
Group. Inc. v. CCH. Inc., 967 F. Supp. 234, 238 (S.D. Tex. 1997)


        22Id.
        23
             NDA, Exhibit 1 to Complaint, Docket Entry No. 1-1, p. 4 � 10.
                                        -9-
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(enforcing a forum selection clause in an expired contract in an
action involving claims arising directly and indirectly from the
agreement).       Accordingly,         the court concludes it may exercise
personal jurisdiction over Siteworks because Siteworks "irrevocably
and unconditionally consent[ed] to the jurisdiction." 24

     2.     Enforcement Against Non-Signatories
        Weatherford also seeks enforcement of the forum-selection
clause against non-signatory defendants Binstock, Powder River, and
Elite Lift.      Weatherford argues that Binstock, Powder River, and
Elite     Lift   are    bound     by   the   forum-selection     clause    because
Siteworks agreed to the NDA "on behalf of itself and its affiliates
and each of their respective employees,                 officers,       directors,
shareholders,        partners and agents        (collectively,    the     'Supplier
Parties') . "25 Weatherford contends that Binstock, Powder River, and
Elite Lift are affiliates of Siteworks because Binstock is the
owner of all three companies.26
     Non-signatories may be held to the terms of a forum-selection
clause in certain limited circumstances.              In re Lloyd's Register
North America, Inc., 780 F.3d 283, 291 (5th Cir. 2015).                   Theories
rooted in contract and agency law that permit such enforcement


     24
          Id. at 4   1 11 (a) .
      Plaintiffs' Response, Docket Entry No. 16, pp. 26-27; NDA,
     25

Exhibit 1 to Complaint, Docket Entry No. 1-1, p. 2 1 2.
     26
          Plaintiffs' Response, Docket Entry No. 16, pp. 24, 26.
                                         -10-
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include "(1) incorporation by reference; (2) assumption; (3) agency;
(4)   alter     ego;     (5)   equitable   estoppel,   and   (6)    third-party
beneficiary."        G.T. Leach Builders, LLC v. Sapphire V.P., LP, 458
S.W.3d 502, 524 (Tex. 2015).          Weatherford argues that the enforce­
ment of the forum selection clause is permissible under (1) the

"closely related parties" theory, (2) agency, and (3) alter ego.27
      Federal courts have permitted enforcement of forum-selection
clauses against a non-signatory defendant who is "' closely related'
to the dispute such that it becomes 'foreseeable' that it will be
bound."      Marano Enterprises of Kansas v. Z-Teca Restaurants, L.P.,
254 F.3d 753,          757 (8th Cir. 2001) (quoting Hugel v. Corp. of
Lloyd's, 999 F.2d 206, 209 (7th Cir. 1993)). The Fifth Circuit has
not endorsed this theory,           but it has been applied by district
courts in this circuit when the non-signatory or alleged conduct is
closely related to the contract.             �, Huawei Technologies Co.,
Ltd. v. Huang, Civil Action No. 4:17-00893, 2018 WL 1964180, at *9

(E.D. Tex. April 25, 2018); Excel Marketing Solutions. Inc. v.
Direct Financial Solutions, LLC,             Civil Action No.      3:11-0109-D,
2011 WL 1833022, at *6 (N.D. Tex. May 13, 2011).                   Under these
decisions, a non-signatory party is subject to a forum-selection
clause when there is an "inextricably intertwined" "relationship
with the plaintiffs and the defendants."           Texas Source Group, Inc.
v. CCH I     Inc.,   967 F. Supp. 234,       237 ( S.D. Tex. 1997).       Texas


      27
           Plaintiffs' Response, Docket Entry No. 16, pp. 9-10.
                                      -11-
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appellate courts have also applied the closely-related doctrine and

the similar "transaction-participant doctrine."              �' Rieder v.

Meeker, 587 S.W.3d 32, 55 (Tex. App.-Fort Worth 2018, pet. granted
Nov. 15,      2019);    see also Pinto Technology Ventures,           L.P.   v.
Sheldon, 526 S.W.3d 428, 444 (2017) (explaining that Texas courts

recognize the transaction-participant doctrine and that it is
similar to the closely-related doctrine).
     Defendants argue that the court should not follow these
decisions, and, alternatively, that under the closely-related party
theory Binstock, Powder River, and Elite Lift would not qualify as
closely related.28       Defendants cite no case where the theory has
been rejected.         The court is persuaded that the closely-related
parties doctrine applies.
     Weatherford        alleges   and    Defendants   do   not   contest   that
Binstock is the sole owner of Siteworks, Powder River, and Elite
Lift.      Courts have found that a sole owner and controller of a
corporation is closely related to that corporation for the purposes
of enforcing forum selection clauses.           In Hugel v. Corporation of
Lloyd's the Seventh Circuit affirmed the district court's finding
that two corporations and their owner and president were so closely
related that they were bound by a forum-selection clause to which
the owner had agreed. 999 F.2d at 209-10. Similarly, the court in
Huawei Technologies Co., Ltd. v. Huang found that an employee's


     28
          Defendants' Reply, Docket Entry No. 20, p. 23.
                                        -12-
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corporation was subject to the forum-selection clause in his

employment agreement because the employee and his corporation
engaged in intertwined conduct alleged to violate the contract's
non-disclosure and non-compete provisions.           2018 WL 1964180, at
*10.
       Defendants      argue that Binstock's ownership of the three
companies       does   not   suffice   to make them closely     related     to
Siteworks.        But Weatherford alleges more than mere co-ownership.
Weatherford alleges that Binstock and Siteworks created and used
Powder River and Elite Lift as instrumentalities to circumvent the
NDA and to use Weatherford's confidential information to compete
with it. 29      Defendants argue that there is no close relationship
between Siteworks, Powder River, Elite Lift, and the NDA, but point
to no evidence that would suffice to overcome the presumption for
the plaintiffs' allegations. 30         Defendants present the affidavits
of employees of         Powder River and Elite Lift,       none of which
controvert Weatherford's allegation that the two companies have
worked closely with Siteworks to take Weatherford's business. 31


       29
            Complaint, Docket Entry No. 1, p. 11 11 35-36.
       30
            Defendants' Reply, Docket Entry No. 20, p. 17
      Declaration of Eric Binstock, Exhibit 1 to Motion to
       31
                                                                   Dismiss,
Docket Entry No. 13-1, pp. 2-8; Declaration of Brandon             Kadrmas,
Exhibit 2 to Motion to Dismiss, Docket Entry No. 13-2,             pp. 2-3;
Declaration of Ryan Kosmicki, Exhibit 3 to Motion to               Dismiss,
Docket Entry No. 13-3, pp. 2-5; Declaration of Jesse               Jafolla,
Exhibit 4 to Motion to Dismiss, Docket Entry No. 13-4,             pp. 2-5;
Declaration of Jordan Binstock, Exhibit 5 to Motion to             Dismiss,
Docket Entry No. 13-5, pp. 2-4.
                                       -13-
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      Because Defendants have not presented evidence that would

controvert Weatherford's allegations, the court must accept that
Binstock,   Powder River, and Elite Lift were closely related to
Siteworks, and that they engaged in conduct closely related to the
NDA. 32    See Johnston,    523 F. 3d at 609.          The court therefore
concludes that it was foreseeable that they would be bound by the
forum-selection clause, which requires adjudication of disputes in
Houston,    Texas.    The court may accordingly exercise personal
jurisdiction over the non-signatory parties under the closely­
related parties doctrine.
      Weatherford submitted sworn declarations in support of its
assertion that the court may exercise personal jurisdiction, and
Defendants filed objections to the declarations. 33             Because,     as
explained    above,    Weatherford's       pleadings   establish    personal
jurisdiction against Defendants, the court need not consider the
declarations.     Defendants' objections will therefore be overruled
as moot.
      Because the court concludes that Defendants are all bound by
the NDA's forum-selection clause for Houston, Texas, their motion
will be denied as to dismissal for lack of personal jurisdiction.
Likewise, the court will deny Defendants' request for dismissal for
improper venue under Rule 12(b) (3) or for transfer of venue under




      See Defendants'
      33
                            Objections     to   Plaintiffs' Declarations,
Docket Entry No. 21.
                                    -14-
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28 U.S.C.      §   1404(a).     See Atlantic Marine Construction Co. 1 Inc. v.

United States District Court for the Western District of Texas, 134
S. Ct. 568, 583 (2013) ("When parties have contracted in advance to

litigate       disputes       in   a   particular     forum,   courts    should     not
unnecessarily disrupt the parties' settled expectations . . . [i]n
all but the most unusual cases.").

        3.     Applicability of the Forum-Selection Clause to Count III
        Defendants contend that the NDA's forum-selection clause
cannot justify jurisdiction over Count III of the Complaint, which

alleges        tortious       interference     with    employment     contracts     of
employees who left Weatherford to work for Powder River and Elite
Lift. Defendants argue that the NDA's forum-selection clause does
not apply to this claim because the employment contracts are not
related to the NDA between Siteworks and Weatherford.
        "The scope of a forum-selection clause is not limited solely
to claims for breach of the contract that contains it."                        MaxEn
Capital,       LLC v. Sutherland,           Civil Action No. H-08-3590,           2009
WL 936895, at *6 (S.D. Tex. April 3, 2009).                       A forum-selection
clause can apply to both contract and tort claims.                      Marinechance
Shipping, Ltd. v. Sebastian, 143 F.3d 216, 222 (5th Cir. 1998).
Although the Fifth Circuit has not articulated a specific test for
determining when tort claims fall within the scope of a contract's
forum-selection clause, district courts within this circuit have
looked to three factors in making this determination:                   "(1) whether
the     tort       claims     'ultimately    depend    on   the    existence   of    a

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contractual       relationship        between      the   parties;'         ( 2)    whether
'resolution      of    the   claims      relates    to     interpretation          of     the
contract;' and (3) whether the claims 'involv[e] the same operative
facts as a parallel claim for breach of contract.'"                          See, e.g.,
AlliantGroup,      L.P. v. Mols,            Civil Action No. H-16-3114,                  2017
WL 432810, at *7 (S.D. Tex. Jan. 30, 2017).
        Forum-selection clauses that extend only to disputes "arising
out of" a contract are construed narrowly, while clauses extending
to disputes that "relate to" or "are connected with" the contract
are construed broadly.             Blueskygreenland Environmental Solutions,
LLC     v.   Rentar    Environmental          Solutions,     Inc.,        Civil        Action
No. 4:11-01745, 2011 WL 6372842, at *4 (S.D. Tex. Dec. 20, 2011).
The phrase "arising in connection with" has been found to reach
"every       dispute    between       the     parties    having       a     significant
relationship to the contract and all disputes having their origin
or genesis in the contract."                Simula, Inc. v. Autoliv, Inc., 175
F.3d 716, 721 (9th Cir. 1999); Wellogix, Inc. v. SAP America, Inc.,
58 F. Supp. 3d 766, 778 (S.D. Tex. 2014).
        The NDA's forum-selection clause applies to "any action or
proceeding      arising      out    of   or    related     in   any       way     to    this
Agreement." 34    As such, it must be broadly construed and applied to
Weatherford's tort claims as long as they have a significant
relationship to or originate in the NDA.                        See Wellogix,             58


       NDA,
        34
                Exhibit 1 to Complaint,            Docket Entry No. 1-1,                p. 4
, 11 (a).
                                            -16-
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F. Supp. 3d at 778. Weatherford alleges tortious interference with

its employees' contracts as part of a conspiracy by Siteworks and
the other Defendants to obtain and use Weatherford's confidential
information and trade secrets in contravention with the NDA.                     All
of Weatherford's claims turn on a shared set of operative facts
closely        related   to     the   alleged   breach   of   the   NDA:     whether
Weatherford's trade secrets were misappropriated and illegally used
to establish a competing enterprise.             Because Count III depends on
these same allegations, the forum-selection clause applies.                      See
iiiTec, Ltd. v. Weatherford Technology Holdings, LLC, Civil Action

No. H-18-1191, 2019 WL 1430428, at *9 (S.D. Tex. March 29, 2019)
(holding that claims based on different contracts fell under one
contract's forum-selection clause because "a consistent thread" ran
through the tortious interference and breach of contract claims).


                         III.    Failure to State a Claim

        Defendants also move for dismissal of several of Weatherford's
claims under Rule 12 (b) (6) . 35        Defendants contend that (1) only one
of the Weatherford plaintiffs has standing to enforce the NDA and
that Binstock, Powder River, and Elite Lift cannot be liable for
the alleged breach of contract; (2) the tortious interference and
breach of fiduciary duty claims either fail as a matter of law or
are     not     plausibly     alleged;    and   (3)   Weatherford's        requested
injunction fails as a matter of law.


        35
             Motion to Dismiss, Docket Entry No. 13, pp. 27-31.
                                         -17-
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A.     Standard of Review

       The Federal Rules of Civil Procedure permit dismissal when a
plaintiff fails to state a claim upon which relief can be granted.
Fed. R. Civ. P. 12(b)(6).         A Rule 12(b)(6) motion tests the formal
sufficiency of the pleadings and is "appropriate when a defendant
attacks     the    complaint    because    it   fails   to   state    a   legally
cognizable claim."          Ramming v. United States, 281 F.3d 158, 161
(5th Cir. 2001), cert. denied sub nom. Cloud v. United States, 122
S. Ct. 2665 (2002). To defeat a motion to dismiss, a plaintiff must
plead "enough facts to state a claim to relief that is plausible on
its face."        Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1974

(2007).     "Detailed factual allegations" are not required at this
stage, but a complaint that establishes the grounds that entitle
the plaintiff to relief "requires more than labels and conclusions,
and a formulaic recitation of a cause of action's elements will not
do."    Id. at 1959.        In ruling on a Rule 12(b)(6) motion the court
must "accept the plaintiff's well-pleaded facts as true and view
them in the light most favorable to the plaintiff."                  Chauvin v.
State Farm Fire      &   Casualty Co., 495 F.3d 232, 237 (5th Cir. 2007).


B.     Parties to the NDA-Based Claims

       1.    Standing of Weatherford Entities
       Of   the     three    Weatherford     plaintiffs,     only    Weatherford
Artificial Lift signed the NDA on which Counts I and II - breach of


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contract and tortious interference with the NDA - are premised. 36

Defendants therefore argue that only Weatherford Artificial Lift
may prosecute these claims.37
          "To establish standing to sue for a breach of contract, 'the
plaintiff must either be in privity of contract with the defendant
or be a third-party beneficiary entitled to enforce the contract.'"
United Neurology,      P.A. v. Hartford Lloyd's Insurance Co.,              101
F. Supp. 3d 584,       591-92   (S.D. Tex.    2015)    (quoting Allan v.
Nersesova, 307 S.W.3d 564, 571 (Tex. App.-Dallas 2010, no pet.)).
Generally, a party to a contract is a signatory party, but the
contract may name other parties who have the power to enforce it.
See In re Rubiola, 334 S.W.3d 220, 224-25 (Tex. 2011) (holding that
non-signatories identified as parties in the contract could enforce
it against a signatory party).
     The NDA defines "Weatherford" to mean "Weatherford Artificial
Lift Systems, LLC and its divisions, subsidiaries and affiliates"
and then uses the term "Weatherford" throughout to describe the

rights and duties under the contract. 38 This language persuades the

court that the parties intended for the Weatherford affiliates to
be non-signatory parties to the contract or at least third-party


      See Complaint, Docket Entry No. 1, pp. 13-15, 23 (citing the
     36

NDA as the basis for each claim); NDA, Exhibit 1 to Complaint,
Docket Entry No. 1-1, p. 5.
     37
          Motion to Dismiss, Docket Entry No. 13, p. 38.
     38
          NDA, Exhibit 1 to Complaint, Docket Entry No. 1-1, p. 1.
                                   -19-
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beneficiaries of the agreement.         Defendants do not contest that

Weatherford International and Weatherford U.S. are affiliates of
Weatherford Artificial Lift, and, accordingly, the court concludes
they have standing as co-plaintiffs on Counts I and II.


     2.   Breach-of-NDA Liability for Non-Signatory Defendants
     Defendants    contend    that    the   non-signatory      defendants
Binstock, Powder River, and Elite Lift - cannot be liable to

Weatherford's breach-of-contract claim (Count I).39             " ' [A] party

generally must be a party to a contract before it can be held

liable for a breach of the contract.'"       Ibe v. Jones, 836 F.3d 516,

524 (5th Cir. 2016) (quoting Hoffman v. AmericaHomeKey, Inc., 23

F. Supp. 3d 734, 739 (N.D. Tex. 2014))         Weatherford contends that

the non-signatory Defendants may be held liable for breach of
contract and fiduciary duty because the NDA defines Siteworks'
affiliates as "Supplier Parties." 40
     While a contract may by its terms empower non-signatory
parties   or   third-party    beneficiaries     to   enforce    it    against
signatory parties, the reverse is typically not true.                Contract
formation requires "an offer and acceptance and a meeting of the
minds," and a party will not be bound without these elements. Ibe,


      Motion to Dismiss, Docket Entry No. 13, p. 39. Defendants
     39

also argue Count VII should be dismissed on the same grounds, but
the court will discuss Count VII separately below.      See infra
Subpart D.
      Plaintiffs' Response, Docket Entry No. 16, p. 51; see NDA,
     40

Exhibit 1 to Complaint, Docket Entry No. 1-1, p. 2 1 2.
                                     -20-
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836 F.3d at 524.        It is therefore irrelevant that the contract
defines Siteworks' affiliates as "Supplier Parties" absent evidence
that they agreed to the contract. Moreover, Weatherford's contract
with Siteworks does not establish a contract with Siteworks'
affiliates absent a theory such as alter-ego.           In re Merrill Lynch

Trust Co. FSB, 235 S.W.3d 185, 192 (Tex. 2007)           Weatherford argues
no such theory and points to no evidence that Siteworks' affiliates
assented to the contract; it points only to the contract's terms,
which are insufficient.41          Accordingly,     Defendants' Motion to
Dismiss Count I against Binstock, Powder River, and Elite Lift will
be granted.


C.     Tortious Interference

       Weatherford's Complaint alleges multiple counts of tortious
interference with:      (1) Sitework's NDA with Weatherford (Count II);
(2) Weatherford's employment contracts with its former employees
(Count III); and (3) Weatherford's contracts with its customers and
prospective business relationships (Count IV).            Defendants object
to the legal sufficiency of these pleaded claims.

       1.    Binstock's Alleged Interference with the NDA (Count II)
       Defendants contend that Count II's allegation that Binstock
tortiously interfered with the NDA fails as a matter of law because


      The "closely related parties" doctrine, discussed supra,
       41

applies only in the context of forum-selection clauses and does not
bind non-signatories to the contract as a whole.
                                     -21-
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Binstock is an agent of Siteworks, who is a party to the contract.

" [A]   person must be a stranger to a contract to tortiously
interfere with it."      In re Vesta Insurance Group, Inc., 192 S.W.3d
759, 761 (Tex. 2006) (internal quotations omitted).            Accordingly,
agents of a party generally cannot be held liable for interfering
with that party's contractual relationships unless the agent acts
outside of the agency's scope.          American Medical International,
Inc. v. Giurintano, 821 S.W.2d 331, 335 (Tex. App.-Houston [14th
Dist.] 1991, no writ).      To meet this standard, the agent's actions
must be solely for his own benefit; actions of mixed motive are not
sufficient.      Powell Industries, Inc. v. Allen, 985 S.W.2d 455, 457

(Tex. 1998)       If a principal does not complain about the agent's
actions, they are assumed to have been within the scope of the
agency for tortious interference purposes.          Id.
        Because Binstock is an officer and therefore an agent of
Siteworks, he cannot be held liable for interfering with Siteworks'
and Weatherford's relationship unless he acted outside the scope of
his agency. Weatherford argues that Binstock acted outside of the
scope of the agency because misappropriation of trade secrets
harmed Siteworks' relationship for the benefit of Powder River and
Elite    Lift.   But   Weatherford   has    not   alleged   that   Siteworks
disapproved of Binstock's actions - an impossibility given that
Binstock is Siteworks' sole owner.          Accordingly, Weatherford has
not alleged that Binstock acted outside the scope of his agency for
Siteworks. As Binstock was not a stranger to the NDA because he is

                                     -22-
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Siteworks'     agent,     Weatherford's       remedy   for   his   complained-of

conduct is its breach-of-contract claim against his principal,
Siteworks.      The tortious interference claim against Binstock in
Count II fails as a matter of law.

     2       Defendants' Alleged Interference with Weatherford's
             Employees' Employment Contracts (Count III)
     Count III of the Complaint alleges that the Defendants
tortiously interfered with Weatherford's employment contracts with
its former employees. 42 Weatherford alleges that its former employ­
ees interfered with (1) non-disclosure agreements,                 (2) agreements
not to compete with Weatherford or solicit its customers during the

employment, and (3) agreements not to compete with Weatherford or
solicit its customers or employees after the end of employment. 43
Defendants argue that the post-employment agreements of non­
competition      and     non-solicitation      cannot    support     a     tortious
interference claim because they are not enforceable.44                   Defendants
contend that such contracts are unenforceable in North Dakota and
that North Dakota law governs the contracts because the relevant
employees reside in North Dakota,               work in North Dakota,          and
serviced Weatherford's customers mostly in North Dakota.45



     42
          Complaint, Docket Entry No. 1, pp. 17-18           11 60-68.
     43
          Id. at 17    1 61.
     44
          Motion to Dismiss, Docket Entry No. 13, pp. 40-41.
     45
          Id. at 40-41    &    n.10.
                                       -23-
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     Defendants      provide   no    evidence     to    support     the   factual
assertions that would permit the court to conclude North Dakota law
applies to the contracts.            And the court must take as true
Weatherford's allegations that its former employees have been using
its confidential information and taking its customers not only in
North Dakota but also in Wyoming and Montana. 46            Chauvin, 495 F.3d
at 237.      Taking these allegations in a light most favorable to

Weatherford, the court cannot determine in what state the former
employees'      contractual    and    employment        duties    predominantly
occurred.       Accordingly,   Defendants' Motion to Dismiss will be
denied as to the dismissal of Count III.

     3.      Defendants' Alleged Interference             with    Weatherford's
             Customer Contracts (Count IV)
     Count IV of the Complaint alleges that Defendants tortiously
interfered with Weatherford's existing or prospective contracts
with 24 of Weatherford's           customers.47        Defendants    argue that
Weatherford has not pleaded sufficient facts to plausibly support
this claim.48 Specifically, Defendants contend that Weatherford has
not sufficiently pleaded (1) the existence of contracts or business



      See
     46
              Complaint, Docket Entry No. 1, p. 2 , 2, pp. 12-13
,, 37-38     (defining "the Rockies" as North Dakota, Montana, and
Wyoming,     and then alleging in detail conduct of its former
employees    in that region).
     47
          Id. at 18-20 '' 69-76.
     48
          Motion to Dismiss, Docket Entry No. 13, p. 41.
                                     -24-
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relationships likely to lead to                   contracts in the future or
(2) actions by the Defendants that induced the customers to breach
their        contracts   or     refrain     from      entering    new   ones     with
Weatherford.49

       Proximate causation of damages is an element of tortious
interference with a contract.             Prudential Insurance Co. of America
v. Financial Review Services, Inc., 29 S.W.3d 74, 78 (Tex. 2000).
To demonstrate it the plaintiff must show that the defendant
interfered by actively persuading a party to breach a contract or
otherwise causing the contract to be more difficult to fulfill or
of    less     or   no   value.        Amigo     Broadcasting,    LP    v.    Spanish
Broadcasting System, Inc., 521 F.3d 472, 493 (5th Cir. 2008); Khan
v. GBAK Properties, Inc., 371 S.W.3d 347, 360 (Tex. App.-Houston
[1st Dist.] 2012, no pet.). A claim for tortious interference with
prospective         contracts     or      business      relationships        requires
interference with the relationship or prospect that results in
actual harm.        Baty v. ProTech Insurance Agency, 63 S.W.3d 841, 860
(Tex. App.-Houston [14th Dist.] 2001, pet. denied).
       Weatherford's Complaint alleges that it had active contracts
and ongoing business relationships with 24 specific customers that
were affected by the Defendants' actions.                   This establishes the
existence of a contract and business relations necessary to support
a tortious interference            claim.        As   to   the   interference    and


       49
            Motion to Dismiss, Docket Entry No. 13, pp. 41-43.
                                          -25-
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causation elements, Weatherford relies on its allegations that the

Defendants (1) poached employees who were tasked with servicing
these        customers,    and     (2)    utilized       Weatherford's      confidential
information and trade secrets to undercut prices,                             engage in
targeted solicitation, and reassure the customers that Powder River
and     Elite     Lift    offered        the    same     products    and    services    as

Weatherford. 50 The court concludes that these allegations plausibly
support Defendants' interferance with Weatherford's contracts by
making the contracts more difficult to perform or less valuable,
and         interfered     with     existing           business     relationships       to
Weatherford's detriment.              Rule 8 only requires that the complaint
provide the grounds that entitle the plaintiff to relief,                              not
"detailed factual allegations."                  Twombly, 127 S. Ct. at 1964.          The
court concludes that Weatherford has alleged sufficient facts to
plausibly state claims for tortious interference with Weatherford
and the customers' contracts or prospective contracts.


D.      Breach of Fiduciary Duty {Count VII}

        The Complaint alleges that Defendants owed fiduciary duties of
good faith, loyalty, candor,                   and care to Weatherford under the
NDA. 51 A fiduciary relationship between the plaintiff and defendant

is an element of breach of fiduciary duty.                          Wellogix, Inc. v.
Accenture,        LLP,    788 F.     Supp.       2d    523,   543   (S.D.   Tex.   2011).


        5
            °Complaint, Docket Entry No. 1, p. 6              1 21, p. 12 11 38-39.
        51
             Id. at 23   11 94-100.
                                               -26-
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Defendants argue that this claim must be dismissed because no
fiduciary relationship existed between the parties or was created
by the NDA.         Weatherford argues that the plain language of the
contract imposes a formal fiduciary duty of care on Defendants.52
The clause in the NDA Weatherford cites states:
      [Siteworks]   shall    maintain   and    safeguard   the
      confidentiality of all Confidential Information received
      by it from Weatherford, handling and treating same with
      at least the same degree of care (and affording it the
      same protections) it observes and provides for its own
      trade secrets and confidential information, and in all
      events with at least a reasonable standard of care.53
       "'A fiduciary relationship exists when the parties are under
a duty to act for or give advice for the benefit of another upon

matters within the scope of the relationship.'"              Wellogix, 788

F. Supp. 2d at 543.      "[A] formal fiduciary relationship, 'arises as
a matter of law and includes the relationships between attorney and
client, principal and agent, partners, and joint venturers.'"               Id.
(quoting Stephanz v. Laird, 846 S.W.2d 895, 901 (Tex. App.-Houston
1993, pet. denied).
      A non-disclosure agreement does not typically give rise to a
formal fiduciary relationship. See Wellogix, 788 F. Supp. 2d at 544
(finding no formal fiduciary relationship established by a non­
disclosure agreement) ; Anglo-Dutch Petroleum International, Inc. v.
Smith, 243 S.W.3d 776, 782 (Tex. App.-Houston [14th Dist.] 2007,


      52
           Plaintiffs' Response, Docket Entry No. 16, p. 56.
      53
           NDA,   Exhibit 1 to Complaint, Docket Entry No. 1-1, p. 2
§ 2 (a) .

                                   -27-
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pet. denied) (same).            The text of the NDA does not state that it

creates a fiduciary relationship and does not create a relationship
that involves a fiduciary duty as a matter of law.                   Weatherford
cites no authority to support its argument that a contractual
fiduciary relationship is created by any contract imposing a "duty
of care" on one party. 54          The court concludes Weatherford has not
alleged that a fiduciary relationship existed between the parties,
and, accordingly, the Motion to Dismiss the breach of fiduciary
duty claim should be granted.


E.      Permanent Injunction

        Weatherford seeks a permanent injunction that would restrain
Defendants from competing with Weatherford for the business of 24
companies in Montana,            North Dakota,     and Wyoming for a year. 55
Defendants        argue   this    request   must   be   dismissed    because   it
constitutes an unlawful restraint on trade. 56             Weatherford argues
a non-competition injunction is available under the Uniform Trade
Secrets Act to nullify any advantage gained by misappropriation of
trade secrets. 57
        The Uniform Trade Secrets Act, as adopted by both Texas and
North        Dakota,   allows    enjoinment   of    "[a]ctual   or   threatened


        54
             See Plaintiffs' Response, Docket Entry No. 16, p. 56.
       55
             Complaint, Docket Entry No. 1, p. 25 1108, pp. 26-28 1108h.
        56
             Motion to Dismiss, Docket Entry No. 13, pp. 37-38.
        57
             Plaintiffs' Response, Docket Entry No. 16, pp. 48-49.
                                       -28-
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misappropriation" of trade secrets.               N.D. Cent. Code § 74-25.1-
02(1); Tex. Civ. Prac.       &   Rem. Code § 134A.003(a).          Courts narrowly
tailor such injunctions to apply only to the use of confidential or
trade secret information.          See, e.g., Aspen Technology, Inc. v. M3
Technology, Inc., 569 F. App'x 259, 273 (5th Cir. 2014) (affirming

an     injunction      barring    sale    of    products   using     specifically
enumerated trade secrets and copyrights); Andarko Petroleum Corp.
v. Davis, Civil Action No. H-06-2849, 2006 WL 3837518, at *24 (S.D.

Tex. Dec. 28, 2006) (" [T)he appropriate remedy [to misappropriation
of trade secrets] is to enjoin use and disclosure of those secrets,
not to enjoin work in competition with the former employer.");
T-N-T Motorsports, Inc. v. Hennessey Motorsports, Inc., 965 S.W.2d
18,     25-26 (Tex. App.-Houston           [1st Dist.]     1998,     pet. dism'd)
(modifying a permanent injunction to more narrowly apply only to
misappropriated trade secrets).             Courts have, however, sometimes
broadly enjoined competition where a party's access to a market
depended entirely on the use of misappropriated trade secrets. See
Sharma v. Vinmar International, Ltd., 231 S.W.3d 405, 429 (Tex.
App.-Houston [14th Dist.] 2007, no pet.).
        Weatherford's Complaint alleges that Defendants' access to and
competition in the artificial lift services sector could only have
occurred through their misappropriation of confidential information
and trade secrets. 58            Because broad injunctive relief may be



        58
             Complaint, Docket Entry No. 1, p. 11      1 35, p. 12 1 38.
                                         -29-
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available if it is proven that Defendants gained advantaged access
to the artificial lift business through misappropriation of trade
secrets,        the   court    cannot   at     this   stage   decide      whether
Weatherford's requested injunctive relief is too broad as a matter
of law.    The court will deny Defendants' motion as to the dismissal

of this request for injunctive relief.


                         IV.    Conclusions and Order

     For the reasons explained above, the court concludes that it
has personal jurisdiction over every defendant and is the proper
venue for the action.          Accordingly, Defendants' Motion to Dismiss
(Docket Entry No.        13)   under Rules 12 (b) (2)    and 12 (b) (3)    or to

transfer venue is DENIED.

     The court concludes that the breach of contract claim may only
proceed against the sole signatory defendant, Siteworks; the claim
for tortious interference with the NDA cannot proceed against Eric
Binstock because he was not a stranger to the contract; and there
is no fiduciary relationship between the parties to support a
breach     of    fidcuiary     duty   claim.      Accordingly,   the      partial

Rule 12 (b) (6) Motion to Dismiss is GRANTED as to Count I with

respect to Eric Binstock, Powder River Hydraulics, LLC, and Elite
Lift Solutions LLC; as to Count II with respect to Eric Binstock;
as to Count VII with respect to all Defendants; and is otherwise



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DENIED.   Defendants' Objections to Plaintiffs' Declarations (Docket

Entry No. 21) is OVERRULED AS MOOT.

     SIGNED at Houston, Texas, on this 7th day of April, 2020.




                                                SIM LAKE
                                   SENIOR UNITED STATES DISTRICT JUDGE




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